Case 2:07-md-01873-KDE-MBN Document 14472 Filed 06/22/10 Page 1 of 3 /0 Gl
Case 2:09-cv-03616-KDE-ALC Document 10-2 Filed 04/20/09 Page 1 of 2 r/

OAD 440 (Rev, O40) Civih Serra a ST

UNITED STATES DISTRICT COURT
for the

Middle District of Louisiana

Shema Lumar, et, al
Plaintiff
v.

Jayco En Inc., et, al

Defendant

Civil Action No. 09-cv-202

fe Nae Nee eet Se

Summons tn a Civil Action

To: (Defendant's name and address)
Honorable Michaehiiekasey- 2 /¢ KOLDE R
US Department of Justice
950 Pennsylvania Ave., NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attorney, whose name and address are:

Justin | Woods, Gainsburgh, Benjamin, David, Maunier & Warshauer, L.L.C. 2800 Energy Centre, 1100 Poydras St.

New Orleans, LA 70163

If you fail to do so, judgment by default wil] be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio

Name of clerk of court

Hoot’ A. dogs

Deputy clesk's signature

Date; _ April 20, 2009

t Le aos ¥ the defendant is the Untied States or a United States agency, or is an officer or employee of the United States allowed 60 days by
ule ,
Case 2:07-md-01873-KDE-MBN Document 14472 Filed 06/22/10 Page 2 of 3
Case 2:09-cv-03616-KDE-ALC Document 10-2 Filed 04/20/09 Page 2 of 2

® AO 440 (Rev. 04/08) Civil Summons (Page 2)

eee EEE EES LLL ES

Proof of Service

I declare under penalty of perjury that | served the summons and complaint in this case on
by:

(1) personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

3 or
(4) returning the summons unexecuted to the court clerk on ‘or
(S)other (specif)
My fees are $ for travel and $ for services, for a total of S 0.00
Date:
Server's signature
Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14472 Filed 06/22/10 Page 3 of 3

UNITED States PosTAL SERVICE First-Class Mail

Postage & Fees Paid
USPS —

Permit No. G-10

* Sender: Please print your name, address, and ZIP+4 in this box ®

Justin Woods
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

rE Titian tlt siieaane listen lollvedlaviadlt

Complete items 1, 2, and 3. Also complete A. Signature

item 4 if Restricted Delivery is desired. x Cl Agent ;
@ Print your name and address on the reverse CO Addressee .

so that we can return the card to you. B. Received by ( Printed Name) C. Date of Delivery
@ Attach this card to the back of the mailpiece, yo.

or on the front If space permits.

D. Is delivery address different from item? LI Yes

1. Alticis Adcionsed Ss If YES, enter delivery address below: 1 No
Eric Holder, U. S. Attorney General gh 1W \3
U.S. Department of Justice iat

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

3. Service Type
Cl Certified Mail J Express Mail
0 Registered C] Return Receipt for Merchandise
Ol Insured Mail O1G.0.D.

4. Restricted Delivery? (Extra Fee) O Yes

i. Number
Feo veo 7008 1830 OOO L197 246) |

PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540

